Case 19-81156-TLS   Doc 1   Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document     Page 1 of 61
Case 19-81156-TLS   Doc 1   Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document     Page 2 of 61
Case 19-81156-TLS   Doc 1   Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document     Page 3 of 61
Case 19-81156-TLS   Doc 1   Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document     Page 4 of 61
Case 19-81156-TLS   Doc 1   Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document     Page 5 of 61
Case 19-81156-TLS   Doc 1   Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document     Page 6 of 61
Case 19-81156-TLS   Doc 1   Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document     Page 7 of 61
Case 19-81156-TLS   Doc 1   Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document     Page 8 of 61
Case 19-81156-TLS   Doc 1   Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document     Page 9 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 10 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 11 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 12 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 13 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 14 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 15 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 16 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 17 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 18 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 19 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 20 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 21 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 22 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 23 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 24 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 25 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 26 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 27 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 28 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 29 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 30 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 31 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 32 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 33 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 34 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 35 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 36 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 37 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 38 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 39 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 40 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 41 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 42 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 43 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 44 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 45 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 46 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 47 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 48 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 49 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 50 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 51 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 52 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 53 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 54 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 55 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 56 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 57 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 58 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 59 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 60 of 61
Case 19-81156-TLS   Doc 1    Filed 08/05/19 Entered 08/06/19 08:59:54   Desc Main
                            Document      Page 61 of 61
